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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION                         FILED
                                                                      SEP O9 2019
                                                                   Cl&r1<, U.S District Court
                                                                      District Of Montana
  HELENA HUNTERS AND                                                       Missoula

  ANGLERS ASSOCIATION, and                       CV 19-47- M- DLC
  MONTANA WILDLIFE
  FEDERATION,                                    (Consolidated with Case No.
              Plaintiffs, and                    CV 19--106-M- DLC)

  ALLIANCE FOR THE WILD
  ROCKIES, and NATIVE                             ORDER
  ECOSYSTEM COUNCIL

              Consolidated Plaintiffs,

        vs.

 LEANNE MARTEN, in her official
 capacity; UNITED STATES FOREST
 SERVICE; UNITED STATES
 DEPARTMENT OF AGRICULTURE,

              Federal Defendants, and

 STATE OF MONTANA, and
 MONTANA BICYCLE GUILD

              Defendant-Intervenors

      On August 22, 2019 this Court granted the State of Montana's Motion to

Intervene. (Doc. 32.) On August 27, 2019 this Court granted Montana Bicycle

Guild lnc.'s Motion to Intervene (Doc. 37) and the City of Helena's Motion to File

Amicus Curiae Brief (Doc. 3 8). While the Court ordered these parties to comply

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with its August 2nd scheduling order (Doc. 20), the Court did not impose a word

limit on those briefs and will do so now. Accordingly,


      IT IS ORDERED that Intervenors may each file a brief in support of their

cross-motion for summary judgment and response no longer than 6,500 words.

Intervenors may each file a reply brief no longer than 3,250 words.


      IT IS FURTHER ORDERED that the City of Helena's amicus curiae brief

shall be limited to 4,500 words.

      DATED this    'l~   day of September, 2019.




                                              Dana L. Christensen, Chief Judge
                                              United States District Court




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